Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16;-Page-t of 44— a
N DISTS! :

EASTERN

somtimes nase nee

IN THE UNITED STATES DISTRICT COURT fFILED, «JAN 28 2018

Wwe |
EASTERN DISTRICT OF LOUISIANA LEVINS
JOHNNY DUNCAN CIVIL ACTION NO. 15-5486
VERSUS SECTION: “B”; MAGISTRATE “1”
STATE OF LOUISIANA, LOUISIANA TRIAL BY JURY DEMANDED
SECRTETARY OF STATE OFFICE,
SECRETARY OF STATE TOM

SCEDLER, TANGIPAHOA PARISH COUNCIL

TANGIPAHOA PARISH CLERK OF COURT

OFFICE, CLERK JULIAN DUFRECHE,

TANGIPAHOA PARISH REGISTRAR OF

VOTERS OFFICE, TANGIPAHOA PARISH

REGISTRAR OF VOTERS JOHN RUSSELL, TENDERED FOR £
TANGIPAHOA PARISH BOARD OF VOTERS
SUPERVISORS, AND V.C. PATRICIA HUGHES on
SIMS JAN £6

AMENDED COMPLAINT

COMES NOW INTO COURT, Plaintiff disabled, dark-skinned, African American male
U.S. Army veteran Johnny L. Duncan, in proper person, to bring this action for damages pursuant
42 U.S. C. §1915, §1981, §1983, §1985, §1986, §1988, 14 Amendment, 15" Amendment, Civil
Rights Act of 1866, Civil Rights Act of 1964, Voting Rights Act of 1965, La. Civ. Code §2315,
La. Civ. Code §2317, and any and all other provisions of federal statutory laws, general, common
and equity laws as applicable to the circumstances and violations hereinafter mentioned and

disclosed during these proceedings, for conspiracy to deprive African American Male Plaintiff
—a. FQ

—-— Process ___

—X.. Dktd

—— CtRmDep __

—— Doc. No, ___

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 2 of 14

Johnny Duncan of the Right to vote and for the deprivation of and denial of Plaintiff's citizenship
Right to vote because of his skin color, race and gender.
1.
The AMENDED COMPLAINT is filed in compliance with the Court’s ORDER AND
REASONS of January 11, 2016;
2.

PRELIMINARY STATEMENT

This is a civil rights action accompanied seeking declaratory, injunctive relief and
monetary damages to redress the racial harassment and refusal to allow plaintiff to vote in the
Louisiana October 24, 2015 Primary Election. Voting Commissioner Patricia Hughes-Sims, along
with other named and unnamed defendants conspired with, between and among themselves to deny
African American male plaintiff the right to vote, and did in fact consummate their participation
in the conspiracy by rejecting plaintiff's government issued picture identification, in violation of
the 14" Amendment, 15" Amendment, Civil Rights Act (1866), Civil Rights Act (1964), Voting
Rights (1965), LRS §18:562 and any and all other applicable Federal and Louisiana State laws.

2.
JURISDICTION AND VENUE

Jurisdiction is vested in this Court by 28 U. S. C. Sections 1331 and/or 1343(3) and (4).
The matter in controversy exceeds $100,000. Further, Plaintiff, Cpt. Johnny L. Duncan, seeks to
invoke the provisions of 28 U. S. C. §1915, §1981, §1983, §1985, §1986, §1988 (for attorney fees,
if and when applicable), the Civil Rights Act of 1866, Civil Rights Act of 1964, Voting Rights Act

of 1965, the 14", and 15 Amendments to the United States Constitution, LRS §18:562, La. Civ.

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 3 of 14

Code §2315, La. Civ. Code §2317, and any and all other provisions of the United States
Constitution, federal and state statutory laws, general, common and equity laws as applicable to

the circumstances and violations hereinafter mentioned and disclosed during these proceedings.

Venue is the United States District Court Eastern District of Louisiana is proper pursuant

28 U.S.C. §1391.

PARTIES

Plaintiff

Plaintiff Johnny Duncan, a sixty-two (63) year old permanently and totally disabled, dark-

skinned African American Male U. S. Army veteran—creator and definer of the term Afr-i-can

Amer-i-can (1986)—is an American citizen residing in the State of Louisiana, in the Parish of

Tangipahoa, in the City of Amite at 309 South Third Street 70422.

DEFENDANTS

The State of Louisiana is an organization established under the laws of the United States
of America which can sue and is capable of being sued. This defendant was the employer of voting

commissioner who denied plaintiff the right to vote on October 24, 2015.

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 4 of 14

The Louisiana Secretary of State is an organization established under the laws of the
United States and the State of Louisiana which can sue and is capable of being sued. Defendant
provided material to Defendants Tangipahoa Parish Clerk of Court Office and Tangipahoa Parish
Registrar of Voters Office for training classes for the Voting Commissioner Patricia Hughes-Sims
on September 16 and September 17, 2015. This defendant co-funds Registrar of voters Office
along with the Tangipahoa Parish Council. This defendant pays the voting commissioners. This

defendant at all times acted under the color of state law;

Louisiana Secretary of State Tom Schedler is a person within the meaning of the laws
of the United States and the State of Louisiana, who can sue and is capable of being sued in an
individual and official capacity. Defendant Tom Schedler heads the Office of Louisiana Secretary
of State and is responsible for enforcing the voting requirements of the State of Louisiana. He
provides training and material for voting and training classes of defendants Clerk of Court Office
and Registrar of Voter Office. He oversees the payroll for elections. This defendant at all times

acted under the color of state law;

Tangipahoa Parish Council is a person within the meaning of the laws of the United
States and the State of Louisiana, who can sue and is capable of being sued. Defendant Tangipahoa
Parish Council appointed Defendant Registrar of Voters John Russell to a lifetime job as Registrar
of voters. Defendant Parish Council controls the purse strings for Registrar and Defendant

Registrar of Voters Office and is the employer of Defendant John Russell. Defendant Russell was

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 5 of 14

acting in his capacity as an employee of Tangipahoa Parish Council when he appointed a member
of the Tangipahoa Parish Board of Election Supervisors, who in turn selected Patricia Hughes-
Sims to be a voting commissioner on October 24, 2015. This defendant at all times acted under

the color of state law;

10.

Tangipahoa Parish Clerk of Court Office is an organization established under the laws
of the State of Louisiana and the United States of America, which can sue and is capable of being
sued. Defendant Tangipahoa Parish Clerk of Court was delegated the authority through its agents,
employees and representatives, to oversee and enforce voting requirements. Defendant used its
place of business to train voting commissioners and to convene the Board of Election Supervisors.
Defendant handles the day-to-day business of Tangipahoa Parish Board of Voter Supervisors. This

defendant at all times acted under the color of state law;

il,

Tangipahoa Parish Clerk of Court Julian DuFreche is a person within the meaning of
the laws of the United States and the State of Louisiana, who can sue and is capable of being sued
in an individual and official capacity. Defendant Clerk of Court Julian DuFreche is mandated by
Louisiana and Tangipahoa Parish Law to supervise the conduct of elections in Tangipahoa Parish.
Clerk Julian DuFreche appoints a member of the Tangipahoa Parish Board of Election Supervisors.
He chairs the Tangipahoa Parish Board of Election Supervisors who appointed the voting
commissioner (Patricia Hughes-Sims) who denied plaintiff the right to vote on October 24, 2015.
Defendant DuFreche individually and in an official capacity participated in at least seven (7)

meetings of the Board of Election Supervisors between September 24, 2015 and October 24, 2015.

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 6 of 14

Upon information and belief Clerk DuFreche personally attended training sessions for the voting
commissioners on September 16 and September 17, 2015. This defendant at all times acted under

the color of state law;

12.

Tangipahoa Parish Registrar of Voters Office is an organization established under the
laws of the State of Louisiana and of the United States of America, which can sue and is capable
of being sue. Defendant Registrar of Voters oversee the registration of voters in the parish. The
registrar of voters provided a voter registration application for plaintiff, and entered into a
contractual relationship with plaintiff for the Defendant State of Louisiana by accepting his signed
application and issuing him a voter registration card for use at his voting precinct on September
27, 1994. Defendant conducted training classes, along with the Clerk of Court and Secretary of
State Office on at least two occasions on September 16 and September 17, 2015. This defendant

at all times acted under the color of state law;

13.

Tangipahoa Parish Registrar of Voters John Russell is a person within the meaning of
the laws of the United States and the State of Louisiana, who can sue and is capable of being sued.
Defendant Registrar of Voters John Russell has a lifetime appointment from Defendant
Tangipahoa Parish Council. Registrar Russell is tasked with the operation of the Tangipahoa
Parish Registrar of Voters Office. Defendant Russell is an employee of Tangipahoa Parish Council.
Defendant Russell appoints a member of the Tangipahoa Parish Board of Election Supervisors,

who in turn appointed the voting commissioner (Patricia Hughes-Sims) who denied plaintiff the

right to vote on October 24, 2015. Defendant Russell individually and officially entered into a

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 7 of 14

contract with plaintiff for the State of Louisiana by issuing him a voter registration application, by
accepting a voting registration application from plaintiff and by issuing him a voter registration
card on September 24, 1994. He is being sued in an individual and official capacity. This defendant

at all times acted under the color of state law;

14.

Tangipahoa Parish Board of Election Supervisors is a person within the meaning of the
laws of the United States and the State of Louisiana, who can sue and is capable of being sued.
Defendant met at least seven (7) times between September 24, 2015 and October 24, 2015 to
selected and appoint voting commissioners, including Voting Commissioner Patricia Hughes-Sims

who denied plaintiff the right to vote on October 24, 2015;

15.

Voting Commissioner Patricia Hughes-Sims is a person within the meaning of the laws of
the United States and the State of Louisiana, who can sue and is capable of being sued. Defendant
Hughes-Sims attended training classes on September 16 and September 17, 2015 conducted by
defendants State of Louisiana, Secretary of State Office, Secretary of State Tom Schedler, Clerk
of Court Office, Clerk of Court Julian DuFreche, Registrar of Voters Office and Registrar of Voters
John Russell. Defendant Tangipahoa Parish Board of Election Supervisors selected Hughes-Sims

to serve as a voting commissioner on October 24, 2015.

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 8 of 14

16.

FACTUAL BACKGROUND

October 24, 2015 was the date of the primary election in Louisiana. Circa 1720 hours
(5:20 P. M.), Johnny Duncan went to vote at his usual polling place at the Amite City Hall, where

he had voted for the last twenty (20) years;

17.

Various poll workers recognized and greeted plaintiff when he entered the polling place;

18.

Plaintiff Johnny Duncan presented a U. S. Government issued picture identification card
(with printed name and signature) to Voting Commissioner Patricia Hughes-Sims to satisfy the

picture identification requirement. The signature and name on the card was legible.

19.

Additionally, Plaintiff Johnny Duncan presented a second ID in the form of a Veterans
Department identification card with his printed name and a signature to verify his identify. The

signature and name on the card was legible;

20.

Plaintiff also wore a military jacket to which his name and rank were visibly affixed and

legible:
Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 9 of 14

21.

Voting Commissioner Patricia Hughes-Sims did not read plaintiff's name from either piece
of identification. Upon information and belief, the voting commissioner denied plaintiff the right

to vote because of his skin-color and/or gender and race;

22.

The Louisiana Secretary of State Office and Secretary of State Tom Schedler through his
representatives failed to provide the necessary guidance to Voting Commissioner Hughes-Sims to

prevent her from denying plaintiff the right to vote in the October 24, 2015 Primary Election;

aos

Tangipahoa Parish Clerk of Court Julian DuFreche and the Tangipahoa Parish Clerk of
Court’s Office through their employees and representatives denied African American Male
Plaintiff Johnny Duncan of the right to vote in the October 24, 2015 Primary Election by rejecting

his pictured and non-pictured forms of government identification;

24.

By not using his voter registration card, by not accepting other acceptable forms of
identification, and by not following alternate voting procedure—Defendants State of Louisiana,
Secretary of State Office, Secretary of State Tom Schedler, Tangipahoa Parish Clerk of Court and

Clerk of Court Julian DuFreche breached a contractual relationship with plaintiff by denying him

the right to vote in the October 24, 2015 Primary Election;

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 10 of 14

29,

PRAYER FOR RELIEF

“This case centers upon the fundamental right to vote.”'! The defendants through their
agents, representatives and/or employees illegally denied permanently disabled, dark-skinned
African American male veteran, Johnny Duncan the right to vote in the Louisiana Primary Election
on October 24, 2015. The extraordinary nature of this voting violation—at all times under the
guise and/or color of state law, Defendants’ conduct in this case demands an extraordinary
remedy. The magnitude of defendants’ trespasses in this vital electoral process mandates that
African American Male Plaintiff seeks redress and relief for the total sum certain of one billion
dollars ($1,000,000,000.00) for compensatory damages, pain, suffering, mental anguish, public
embarrassment and humiliation caused African American male plaintiff by the defendants’ denial

of his right to vote in Louisiana Primary Election on October 24, 2015.

CONCLUSION

Whether denial of plaintiff's right to vote was because of his race, age, skin-color, gender,
ethnicity or whatever god-forsaken reason is irrelevant. The right to vote is a fundamental freedom
upon which many other constitutional warranties rest. The remedy sought in this litigation will

serve as a deterrent and will prevent such a blatant violation of the right to vote in the future.

Done this the 25Day of January, 2016 at Amite, Louisiana.

* ORDER AND REASON, Page 1, Line 10.

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 11 of 14

RESPECTFULLY SUBMITTED BY:

, Plaintiff
“In Proper Person
309 South Third Street
Post Office Box 723
Amite, Louisiana, 70422
(985) 474-2565

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 12 of 14

CERTIFICATE OF SERVICE

| hereby certify that on this the 25™ Day of January, 2016—I placed a true and correct copy of
Plaintiff's Amended Complaint in the United States Post Office at Amite, Louisiana 70422 and forwarded

it to Defendants through counsel at the following addresses:

Grant Guillot/E. Wade Shows, John C. Walsh/Katheryn A. Dufrene

SHOWS, CALI & WALSH, LLP
628 Saint Louis Street
Baton Rouge, Louisiana 70802

Assistant Attorney General Douglas Swenson
1885 North Third Street, 4 Floor

Post Office Box 94005

Baton Rouge, Louisiana 70804-9005

Assistant Attorney General William P. Bryan, III
1885 North Third Street, 4 Floor

Post Office Box 94005

Baton Rouge, Louisiana 70804-9005

Glen R. Galbraith

SEALE & ROSS, PLC
Post Office Box 699
Hammond, Louisiana 70404

Thomas H. Huval/Stefeni W. Salles
532 East Boston Street
Covington, Louisiana 70403

Tangipahoa Parish Board of Election Supervisors
C/O Clerk of Court Julian DuFreche

206 North Myrtle Street

Amite, Louisiana 70422

Voting Commissioner Patricia Hughes-Sims

C/O Tangipahoa Parish Board of Election Supervisors
Clerk of Court Office

206 North Myrtle Street

Amite, Louisiana 70422

Ol

Lenny Duncan
-SS Document 50 Filed 01/28/16 Page 13 of 14

15-cv-05486-ILRL

Case 2

~TMOON

7015 Ob4O Oone

2 ||

70130

“AMOUNT

$7, 67

R2305H127624-02

Case 2:15-cv-05486-ILRL-SS Document 50 Filed 01/28/16 Page 14 of 14

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

JOHNNY DUNCAN CIVIL ACTION NO. 15-5486
SECTION: “B”
VERSUS JUDGE IVAN LEMELLE

MAG.; SALLY SHUSHAN

STATE OF LOUISIANA, ET AL TRIAL BY JURY DEMANDED

ORDER

Having considered Plaintiffs AMENDED COMPLAINT, the Complaint is AMENDED.

Done this the Day of , 2016 at New Orleans.

HONORABLE IVAN LEMELLE
UNITED STATES JUDGE
EASTERN DISTRICT OF LOUISIANA

